Case 2:O4-cV-O2636-.]DB-tmp Document 25 Filed 08/02/05 Page 1 of 2 Page|D 26

 

 

UNITED STA TES DISTRICT COUR.T F"_ED BY
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CLERK, US. l n t
JOHN MC GRAIL, JUDGMENT IN A CIVILU§E*'f,-*=i¢".-
Plaintiff,
V.
METROPOLITAN LIFE INSURANCE COMPANY, CASE NO: 2:04-2636-B
Defendant.

 

DECISION BY COURT. This action came to consideration before the Court. The issues have been
considered and a decision has been rendered

IT IS SO ORDERE]) AND AD.IUDGED that in accordance with the Consent Order Of
Dismissal With Prejudice entered on August 1, 2005, this cause is hereby dismissed with
prejudice.

 

THOMAS M. GOULD
Clerk of Court

(By) Deputy Cleri?

 

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Notice of Distribution

This notice confirms a copy oi` the document docketed as number 25 in
case 2:04-CV-02636 Was distributed by faX, mail, or direct printing on
August 3, 2005 to the parties listed.

 

 

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Honorable .1. Breen
US DISTRICT COURT

